                  Case 4:04-cr-00249-JM                     Document 532             Filed 01/05/10          Page 1 of 8
~A0245D      (Rev. 12/07) Judgment in a Criminal Case for Revocations
             Sheet 1



                                      UNITED STATES DISTRICT COURT                                                     JAN - 5 2010
                                                         Eastern District of Arkansas                     JA~.MACK, CLERK
                                                                                                   By;(                           :::=:>..---
          UNITED STATES OF AMERICA                                                    .   C··    I C
                                                                           J udgmen t In a rlmIna ase                                   DEP CLERK
                             v.                                            (For Revocation of Probation or Supervised Release)
                    NIKKI L. KING

                                                                           Case No. 4:04cr00249-04 JMM
                                                                           USM No. 23760-009
                                                                            Kim Driggers
                                                                                                   Defendant's Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition(s)           General, Special & Standard of the term of supervision.
D was found in violation of condition(s)              _ _ _ _ _ _ _ _ _ _ after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number             Nature of Violation                                                                  Violation Ended
General                           Failure to refrain from possessing an illegal substance                         04/29/2009



Special                           Failure to pay restitution                                                      11/28/2008



       The defendant is sentenced as provided in pages 2 through                7      of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully pa~d. ~f ordered to pay restitution, the defendant must notify the court and Unifed States attorney of material changes In
economIC cIrcumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 6133                         01/05/2010
                                                                                               Date of Imposition of Judgment

                                                                        ~......:VV1:....:.....:...---=VV1""":""":::::Q..~Q%=,~~
Defendant's Year of Birth:           1982
                                                                                                                                            _
City and State of Defendant's Residence:                                 (j---                       Signature of Judge

                                                                            James M. Moody                                US District Judge
                                                                                                  Name and Title of Judge

                                                                            01/05/2010
                                                                                                           Date
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AD 245D      (Rev. 12/07) Judgment in a Criminal Case for Revocations
             Sheet 1A

                                                                                           Judgment-Page _    2_ of
                                                                                                             ...        7
DEFENDANT: NIKKI L. KING
CASE NUMBER: 4:04cr00249-04 JMM

                                                        ADDITIONAL VIOLATIONS

                                                                                                                Violation
Violation Number                 Nature of Violation                                                            Concluded
Special 15                       Failure to participating in drug testing as instructed                         08/26/2009


Standard 2                       Failure to submit written monthly report                                       07/01/2009
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  AO 245D       (Rev. 12/07) Judgment in a Criminal Case for Revocations
                Sheet 2- Imprisonment

                                                                                                  Judgment - Page   _.::;3_ of    7
  DEFENDANT: NIKKI L. KING
  CASE NUMBER: 4:04cr00249-04 JMM


                                                                   IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
  total term of :
ELEVEN (11) MONTHS




       ~ The court makes the following recommendations to the Bureau of Prisons:
Defendant shall participate in nonresidential substance abuse treatment as well as mental health counseling.




       ~ The defendant is remanded to the custody of the United States Marshal.

       o The defendant shall surrender to the United States Marshal for this district:
         o at _ _ _ _ _ _ _ _ _ 0 a.m. 0 p.m. on
         o as notified by the United States Marshal.
       o    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            o     before 2 p.m. on
            o     as notified by the United States Marshal.
            o     as notified by the Probation or Pretrial Services Office.

                                                                           RETURN

  I have executed this judgment as follows:




            Defendant delivered on                                                     to

  at   _ _ _ _ _ _ _ _ _ _ _ _ _ _ with a certified copy of this judgment.




                                                                                               UNITED STATES MARSHAL


                                                                              By
                                                                                            DEPUTY UNITED STATES MARSHAL
                    Case 4:04-cr-00249-JM                     Document 532       Filed 01/05/10          Page 4 of 8
  AO 245D     (Rev. 12/07) Judgment in a Criminal Case for Revocations
              Sheet 3 - Supervised Release

                                                                                                     Judgment-Page     4      of         7
  DEFENDANT: NIKKI L. KING
  CASE NUMBER: 4:04crO0249-04 JMM
                                                             SUPERVISED RELEASE

 Upon release from imprisonment, the defendant shall be on supervised release for a term of:
ONE (1) YEAR



           The defendant must repqrt to the probation office in the district to which the defendant is released within 72 hours of release
  from the custody of the Bureau of Prisons.
  The defendant shall not commit another federal, state or local crime.
  The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
  substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ana at least two periodic drug
  tests thereafter as determined by the court.
  o     The above drug testing condition is suspended, based onthe court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
  ~ The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
  o     The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
  o     The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
        or is a student, as directed by the probation officer. (Check, if applicable.)
  o     The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
           If this judg!J!ent imposes a fine or restitution, it is be a condition of supervised release that the defendant pay in accordance
  with the Schedule of Payments sheet of this judgment.
           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
  conditions on the attached page.

                                             STANDARD CONDITIONS OF SUPERVISION
  1)        the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)        the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first
            five days of each month;
  3)        the. defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
            officer;
  4)        the defendant shall support his or her dependents and meet other family responsibilities;
  5)        the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
            or other acceptable reasons;
  6)        the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
            controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)        the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)        the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
            convicted of a felony, unless granted permIssion to do so by the probation officer;
  10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
            confiscation of any contraband observed in plain view of the probation officer;
  11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
            enforcement officer;
  12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
            without the permission of the court; and
  13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
            defendant's criminal record or personal history or characteristics and shall permit the probation officer to make such
            notifications and to confirm the defendant's compliance with such notificatIOn requirement.
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 AD 245D    (Rev. 12/07) Judgment in a Criminal Case for Revocations
            Sheet 3C - Supervised Release

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 DEFENDANT: NIKKI L. KING
 CASE NUMBER: 4:04cr00249-04 JMM

                                             SPECIAL CONDITIONS OF SUPERVISION

1) The defendant shall participate, under the guidance and supervision of the probation officer, in a substance abuse
treatment program which may include testing, outpatient counseling, and residential treatment. Further, the defendant
shall abstain from the use of alcohol throughout the course of treatment.

2) The defendant shall participate in mental health counseling under the guidance and supervision of the U.S. Probation
Office.

3) The defendant shall disclose financial information upon request of the U.S. Probation Office, including, but not limited
to, loans, lines of credit, and tax returns. This also includes records of any business with which the defendant is
associated. No new lines of credit shall be established without prior approval of the U.S. Probation Office until all criminal
penalties have been satisfied.
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AD 245D     (Rev. 12/07) Judgment in a Criminal Case for Revocations
            Sheet 5 - Criminal Monetary Penalties

                                                                                                                                Judgment - Page            _.;::6__ of   7
DEFENDANT: NIKKI L. KING
CASE NUMBER: 4:04cr00249-04 JMM
                              CRIMINAL MONETARY PENALTIES

     The defendant must pay the following total criminal monetary penalties under the schedule of payments set forth on Sheet 6.


                      Assessment                                                   Fine                                                     Restitution
TOTALS         $ 60.00                                                            $ 0.00                                                  $ 42,923.49


DO The determination of restitution is deferred until -----. An Amended Judgment in a Criminal Case (AO 245C) will be
     entered after such determination.

o    The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportionedpayment, unless specified otherwise
     in the priority order or percentage payment column below. However, pursuant to 18 U.S.c. § 3664(i), all nonfederal victims must
     be paid before the United States is paid.




TOTALS                                     $:-                         0;;.;..0;;..;0;....    $                 ...;;42;::.:,..;;.,;92=3;.,;..4,;..;9"--


o    Restitution amount ordered pursuant to plea agreement $                                                                _

o    The defendant must pay interest on restitution or a fine more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgD!ent, pursuant to 18 U.S.c. § 3612(f). All of the payment options on Sheet 6 may be
     subject to penalties for delinquency and default, pursuant to 18 U.S.c. § 3612(g).


     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     "it the interest requirement is waived for the             0 fine                       "it restitution.
     o the interest requirement for the            0     fine      o restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before Apri123, 1996.
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  ~-                                                                                   PAGE   02/132
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                             NlKK1 L. KJNG 4:04CR.O0249·04 JM},.f


                   AMOUNT                                ACCOUNT #
      $4,908.90                                 Account 4
      55,053.00                                 Account 6

      !7,501.66                                 AccountS
      $5,775.39                                 ACCOLlnt 10
      $8,746.93                                 Account J1
      $3,047.90                                Account 12
      $2,479.09                                 Account 18
      $5,410.52                                 AccoWlt27

      $42,923.49                                GRAND 'l''OTAL
                  Case 4:04-cr-00249-JM                      Document 532               Filed 01/05/10      Page 8 of 8
AO 245D     (Rev. 12/07) Judgment in a Criminal Case for Revocations
            Sheet 6 — Schedule of Payments

                                                                                                       Judgment — Page   7    of       7
DEFENDANT: NIKKI L. KING
CASE NUMBER: 4:04cr00249-04 JMM

                                                        SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A     ✔ Lump sum payment of $ 60.00
      G                                                                due immediately, balance due

           G not later than                                               , or
           ✔ in accordance with G C,
           G                                         G D,         G E, or        ✔ F below); or
                                                                                 G
B     G Payment to begin immediately (may be combined with                       G C,      G D, or    G F below); or
C     G Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                           (e.g., months or years), to commence                (e.g., 30 or 60 days) after the date of this judgment; or

D     G Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                    over a period of
                        (e.g., months or years), to commence                (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E     G Payment during the term of supervised release will commence within                   (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay.
F     ✔ Special instructions regarding the payment of criminal monetary penalties:
      G
        During incarceration, the defendant will pay 50 percent per month of all funds that are available to her. This
        excludes gifts from family and/or friends. During residential re-entry placement, payments will be reduced to 10
        percent of the defendant's gross monthly income. Beginning the first month of supervised release, payments will
        be 10 percent per month of the defendants monthly gross income.


Unless the court has expressly ordered otherwise in the special instruction above, if this judgment imposes imprisonment, payment of
criminal monetary penalties is due during the period of imprisonment. All criminal monetary penalties, except those payments made
through the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




✔ Joint and Several
G
      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount and
      corresponding payee, if appropriate.
    4:04cr249-01 - Sharon Alexander, 4:04cr249-02 - Vondra Alexander, 4:04cr249-03 - Shelly M. Gulley, 4:04cr249-05 -
    Kendraya D. Gordon; 4:04cr249-06 - Monica C. Eckwood, 4:04cr249-07 - Christy R. Pickens, 4:04cr249-08 - Cristal
    Miller, 4:04cr249-09 - Stephanie King Dunn, 4:04cr249-10 - Javlin M. Thompson, 4:04cr249-11 - Michael Jerman
    Caffey, 4:04cr249-12 Lance Edward
G The defendant shall pay the cost of prosecution.
G The defendant shall pay the following court cost(s):
G The defendant shall forfeit the defendant’s interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
